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  Abengoa Bioenergy Meramec Renewable, LLC

                     Eastern                       Missouri

            16-44191 (KAS)

                                                                                    X




                                                                                                      0.00



                                                                                          610,149,693.96
                                                                                    + undetermined amounts



                                                                                          610,149,693.96
                                                                                    + undetermined amounts




                                                                                                      0.00




                                  5a                                                                  0.00



                                                                                                      0.00
                                              5b




                                                                                                      0.00
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           Abengoa Bioenergy Meramec Renewable, LLC

                                  Eastern                Missouri

                         16-44191 (KAS)                                                    X




X




                                                                                                     0.00




    See attached rider                                                                           12,742.29




    None                                                                                              0.00




                                                                                                 12,742.29




X
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           Abengoa Bioenergy Meramec Renewable, LLC                           16-44191 (KAS)




                                                                                                                 0.00




X




                                                                                                                0.00




X




    None                                                                                                          0.00




    See attached rider                                                                                  Undetermined




    None                                                                                                          0.00




                                                                                                                0.00
                                                                                               + undetermined amounts
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     Abengoa Bioenergy Meramec Renewable, LLC                             16-44191 (KAS)




X




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X
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     Abengoa Bioenergy Meramec Renewable, LLC                            16-44191 (KAS)




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X




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     Abengoa Bioenergy Meramec Renewable, LLC                            16-44191 (KAS)




X




                                                                                              0.00
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     Abengoa Bioenergy Meramec Renewable, LLC                            16-44191 (KAS)




X




                                                                                               0.00




X




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          Abengoa Bioenergy Meramec Renewable, LLC                             16-44191 (KAS)




X




None                                                                                                             0.00




Deferred Tax Assets
                                                                                                     162,442,135.48




See attached rider                                                                                     Undetermined




 None                                                                                                            0.00




None                                                                                                             0.00




None                                                                                                             0.00




See attached rider                                                                                   447,694,816.19




                                                                                                     610,136,951.67
                                                                                                + undetermined amounts



X
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     Abengoa Bioenergy Meramec Renewable, LLC                                    16-44191 (KAS)




                                                                 12,742.29


                                                                      0.00



                                                                      0.00


                                                                      0.00
                                                        + undetermined amounts

                                                                      0.00


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                                                                      0.00


                                                            610,136,951.67
                                                        + undetermined amounts

                                                             610,149,693.96               0.00
                                                    + undetermined amounts




                                                                                                       610,149,693.96
                                                                                                  + undetermined amounts
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Debtor Name: Abengoa Bioenergy Meramec Renewable, LLC                                             Case Number: 16-44191 (KAS)

                                                  Assets - Real and Personal Property

                           Part 1, Question 3: Checking, savings, money market, or financial brokerage accounts



Name of institution (bank or brokerage                                           Last 4 digits of account         Current value of debtor's
                                            Type of account
firm)                                                                            number                           interest
WELLS FARGO BANK N.A                       Wells Fargo Operating Account        4027                                                 $12,742.29

                                                                                                      TOTAL                          $12,742.29




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Debtor Name: Abengoa Bioenergy Meramec Renewable, LLC                                                  Case Number: 16-44191 (KAS)

                                                     Assets - Real and Personal Property

  Part 4, Question 15: Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
                                                           partnership, or joint venture


                                                                                     Valuation method used for      Current value of debtor's
Name of entity                                 % of ownership
                                                                                     current value                  interest
Abengoa Bioenergy Funding, LLC                                 100                  N/A                                               Undetermined

                                                                                                           TOTAL                          $0.00
                                                                                                                         + undetermined amounts




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Debtor Name: Abengoa Bioenergy Meramec Renewable, LLC                                              Case Number: 16-44191 (KAS)

                                                Assets - Real and Personal Property

                                   Part 11, Question 73: Interests in insurance policies or annuities



                                                                                                                Current value of debtor's
Description                              Policy type                            Policy number
                                                                                                                interest
FACTORY MUTUAL INSURANCE COMPANY Property                                       1001449                                         Undetermined

NEW HAMPSHIRE INSURANCE COMPANY          Workers' Compensation                  WC XXX-XX-XXXX                                  Undetermined

NATIONAL UNION FIRE INSURANCE            Commercial Umbrella                    BE 24238263                                     Undetermined
COMPANY OF PITTSBURGH, PA
ILLINOIS NATIONAL INSURANCE CO.          General Liability                      GL - 190-33-41                                  Undetermined

ESSEX INSURANCE COMPANY                  Rail                                   RRP1514-3                                       Undetermined

LIBERTY INSURANCE UNDERWRITERS           Excess Liability Policy Declaration    10000035915-04                                  Undetermined
INC.
NATIONAL UNION FIRE INSURANCE            Auto                                   CA - 363-2415                                   Undetermined
COMPANY OF PITTSBURGH, PA
IRONSHORE SPECIALTY INSURANCE            Environmental Excess                   2308100                                         Undetermined
COMPANY
TRAVELERS PROPERTY CASUALTY              Commercial                             QT-660-4862N27A-TIL-15                          Undetermined
COMPANY OF AMERICA
ACE AMERICAN INSURANCE COMPANY           Foreign Liability/International        D38281215 003                                   Undetermined
                                         Casualty
                                                                                                        TOTAL                         $0.00
                                                                                                                     + undetermined amounts




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Debtor Name:           Abengoa Bioenergy Meramec Renewable,                                              Case Number:      16-44191 (KAS)
                       LLC

                                                        Assets - Real and Personal Property

                                          Part 11, Question 77: Other property of any kind not already listed




Description                                                                           Current value of debtor's interest

LT part.GC.re.Ac-Nat                                                                                                          $309,475,701.88

Lt loan to AfCo                                                                                                               $138,219,114.31*

                                                                              TOTAL                                           $447,694,816.19




   *The Debtors believe that some or all of this interest may be equity.

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     Abengoa Bioenergy Meramec Renewable, LLC
                         Eastern                   Missouri

      16-44191 (KAS)

                                                                                    X




X




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     Abengoa Bioenergy Meramec Renewable, LLC                            16-44191 (KAS)




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    Abengoa Bioenergy Meramec Renewable, LLC
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                                                                                              0.00




                                                                                      0.00




                                                                                      0.00




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     Abengoa Bioenergy Meramec Renewable, LLC

                         Eastern                     Missouri

               16-44191 (KAS)



                                                                                      X




X




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     Abengoa Bioenergy Meramec Renewable, LLC

                         Eastern                    Missouri

               16-44191 (KAS)




                                                                                     X




 X




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                                                                  Pg 19 of 19
 Fill in this information to identify the case and this filing:


 Debtor Name Abengoa Bioenergy Meramac Renewable, LLC

 United States Bankruptcy Court for the: Eastern                        Missouri
                                        -==<!..C'-------- District of (State)
 Case number (If known):    16-44191 (KAS)




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual's position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



               Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


         0      Schedule AlB: Assets-Real and Personal Property (Official Form 206AIB)

         0      Schedule D: Creditors Who Have Claims Secured by Property (Official Form 2060)

         0      Schedule ElF: Creditors Who Have Unsecured Claims (Official Form 206EIF)

         0      Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         0      Schedule H: Codebtors (Official Form 206H)

         0      Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

         121    Amended Schedule AlB , E/F,        G, H and Summary of Assets and Liabil ities

         0      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


         0      Other document that requires a declaration_ _ _ _ _ _ _ _ _ _ __ _ _ _ __ _ _ _ _ _ _ __ _ _ _ _ __ __




         Executed on       05/24/2017
                           MM/DD/YYYY



                                                                  Sandra Porras Serrano
                                                                Printed name


                                                                  Chief Financial Officer
                                                                Position or relationsh ip to debtor



Official Form 202                            Declaration Under Penalty of Perjury for Non-Individual Debtors
